
E. GRADY JOLLY, Circuit Judge:
This appeal requires us to interpret the scope of the United States antitrust laws and their application to foreign conduct. The plaintiff is a Norwegian oil corporation that conducts business solely in the North Sea. It seeks redress under the United States antitrust laws against the defendants for an alleged anticompetitive conspiracy that supposedly inflated the plaintiffs operating costs in the North Sea. Supreme Court precedent makes clear as a general proposition that United States antitrust laws “do not regulate the competitive conditions of other nations’ economies,” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 582, 106 S.Ct. 1348, 89 L.Ed.2d 538 (1986). More specifically, today we are bound by the plain language of the Foreign Trade Antitrust Improvements Act (FTAIA). Thus, even though the plaintiff alleges that the antitrust conspiracy raised prices in the United States, it fails to assert jurisdiction under the antitrust laws because the plaintiffs injury did not arise from that domestic anticompetitive effect. Accordingly, we find that the district court properly dismissed the plaintiffs antitrust claims for lack of subject matter jurisdiction. It follows that we affirm the court’s determination that the plaintiff lacked antitrust standing to bring these claims in United States federal court.
I
We begin with the basics. Sections 1 and 2 of the Sherman Act prohibit restraints of trade and monopolization. Section 1 reads:
Every contract, combination in the form of trust or otherwise, or conspiracy, in restraint of trade or commerce among the several States, or with foreign nations, is hereby declared to be illegal.
15 U.S.C. § 1. Section 2 of the Sherman Act states:
Every person who shall monopolize, or attempt to monopolize, or combine or conspire with any other person or persons, to monopolize any part of the trade or commerce among the several States, or with foreign nations, shall be deemed guilty of a felony....
15 U.S.C. § 2. The FTAIA, enacted by Congress in 1982 to clarify the application of United States antitrust laws to foreign conduct, limits the application of such laws when non-import foreign commerce is involved. The FTAIA states that the antitrust laws will not apply to non-import commerce with foreign nations unless the conduct at issue has a “direct, substantial, and reasonably foreseeable effect” on do*422mestic commerce and “such effect gives rise to a claim under” the antitrust laws.1
II
The plaintiff, Den Norske Stats Oljesel-skap As (“Statoil”), is a Norwegian oil company that owns and operates oil and gas drilling platforms exclusively in the North Sea. The defendants are providers of heavy-lift barge services in the Gulf of Mexico, the North Sea, and the Far East. Only six or seven heavy-lift barges exist in the world. These immense vessels have cranes capable of hoisting and transporting offshore oil platforms and decks weighing in excess of 4,000 tons. During the 1993-1997 time frame, which is at issue in this suit, the three defendants controlled these barges.2 Between 1993 and 1997, Statoil purchased heavy lift barge services from the HeereMac and Saipem defendants in the North Sea.
Statoil alleges that the defendants conspired to fix bids and allocate customers, territories, and projects between 1993 and 1997. Under the alleged arrangement, the defendants agreed that HeereMac and McDermott would have exclusive access to heavy-lift projects in the Gulf of Mexico, while Saipem would receive a higher allocation of North Sea projects in exchange for staying out of the Gulf. The defendants also allegedly agreed to submit embellished bids on heavy-lift projects. As a result of this conspiracy, Statoil contends that it paid inflated prices for heavy-lift barge services in the North Sea.3 Statoil further argues that the conspiracy compelled it to charge higher prices for the crude oil it exported to the United States.4 Finally, Statoil asserts that purchasers of heavy-lift services in the Gulf of Mexico were forced to pay inflated prices for those services because of the conspiracy.5
Ill
By way of background, it should be noted that in December 1997, the United States Department of Justice filed a criminal complaint against defendants Heere-Mac and Jan Meek, one of HeereMac’s managing directors. The complaint alleged that the defendants conspired “to suppress and eliminate competition by rigging bids for the sale of heavy-lift derrick barge and related marine construction services in the United States and else*423where.”6 HeereMac and Meek submitted to United States jurisdiction and pled guilty to the charges. They agreed to pay fines of $49 million and $100,000, respectively.
Following the guilty pleas, numerous companies across the globe filed suit in United States federal court seeking redress for injuries stemming from defendants’ conduct. The first of these suits was filed in the Southern District of Texas in June 1998 by Phillips Petroleum Company and three of its foreign-based subsidiaries.7
On January 22, 1999, the court dismissed Phillips’s claims for injuries sustained by its foreign subsidiaries relating to projects in foreign waters but allowed those claims asserting injury from projects in United States waters to proceed. While the court acknowledged the worldwide nature of the alleged conspiracy in its order, it nonetheless held that subject matter jurisdiction did not exist for those claims pled by foreign-based subsidiaries for injuries allegedly sustained on foreign platforms.8 Specifically, the court determined that those claims did not fall within the ambit of the United States antitrust laws because the claims did not arise from a direct and substantial effect on United States commerce.9
Statoil filed this suit in the same court in December 1998. The court dismissed Sta-toil’s complaint against the defendants on July 12, 1999.10 In its order, the court relied heavily upon its decision in the Phillips case and found no subject matter jurisdiction over the claims because “Statoil’s damages arise from its projects in the Norwegian sector of the North Sea”; thus, the FTAIA’s requirement that the effect on domestic commerce “gives rise” to the antitrust claim was not satisfied. See 15 U.S.C. § 6a(2). The court also held that the defendants’ conspiracy “did not have a direct, substantial, and reasonably foreseeable anticompetitive effect on United States trade or commerce” under the FTAIA. See 15 U.S.C. § 6a(l). Finally, the court determined that “Statoil lacks standing to bring a claim under United States antitrust laws because its alleged injuries are not of the type that the antitrust statute was intended to redress.”11 Statoil timely appealed the judgment.
IV
The issue presented to us is primarily one of statutory interpretation. Specifically, this appeal requires us to interpret the relevant provisions of the FTAIA to determine whether the defendants’ conduct and Statoil’s injury in the North Sea presents a justiciable claim in the federal courts of the United States.
It is not helpful that the federal courts have generally disagreed as to the extraterritorial reach of the antitrust laws and have employed assorted tests to determine the scope of the Sherman Act. The histo*424ry of this body of case law is confusing and unsettled.12 However, as far as this appeal is concerned, our work is simplified by Congress’ passage in 1982 of the FTAIA, which specifically exempts certain foreign conduct from the antitrust laws. This circuit has never interpreted the relevant portions of the FTAIA as they apply to global conspiracies and resulting foreign injury.13 Today, we take on this task, and make no claim that it is an easy one.
V
A
We review de novo a district court’s ruling on a 12(b)(1) motion to dismiss for lack of subject matter jurisdiction.14 See Hebert v. United States, 53 F.3d 720, 722 (5th Cir.1995). In ruling on a motion to dismiss for lack of subject matter jurisdiction, a court may evaluate (1) the complaint alone, (2) the complaint supplemented by undisputed facts evidenced in the. record, or (3) the complaint supplemented by undisputed facts plus the court’s resolution of disputed facts. See Barrerar-Montenegro v. United States, 74 F.3d 657, 659 (5th Cir.1996). Nevertheless, we must accept all factual allegations in the plaintiffs complaint as true. See Williamson v. Tucker, 645 F.2d 404, 412 (5th Cir.1981).
We first outline Statoil’s argument that United States antitrust jurisdiction encompasses the conduct and injury in its complaint.
B
Statoil argues that the FTAIA does not. preclude the district court’s jurisdiction over its antitrust claims. Specifically, Sta-toil argues that the FTAIA was enacted exclusively to ensure that the conduct pro*425viding the basis of the plaintiffs claim have the requisite domestic effects, and was not intended to preclude recovery to foreign plaintiffs based on the situs of the injury.15 Moreover, Statoil contends that Section 2 of the FTAIA was inserted only to ensure that the effect on United States commerce that provides jurisdiction is itself a violation of the antitrust laws; that is, the statute simply requires that there be some anticompetitive, harmful effect in this country — not just a positive or neutral domestic effect.16
Addressing specifically the FTAIA’s requirement that the domestic effect “gives rise” to its antitrust claim, Statoil primarily argues that, because the defendants operating in the Gulf of Mexico were able to maintain their monopolistic pricing only because of their overall market allocation scheme (which included agreements regarding operations in the North Sea), Sta-toil’s injury in the North Sea was a “necessary prerequisite to” and was “the quid pro quo for” the injury suffered in the United States domestic market. Statoil alleges that the market for heavy-lift services in the world is a single, unified, global market; therefore, because the United States is a part of this worldwide market, the effect of the conspiracy, whether in the United States or in the North Sea, “gives rise” to any claim that is based upon this conspiracy.17
C
We must disagree with Statoil’s arguments based on our reading of the antitrust statutes. Although we are controlled by the plain language of the statutes, we also find that the legislative history of the FTAIA and applicable case law supports our determination that the district court lacked jurisdiction over Statoil’s claims.
We begin with an analysis of the relevant statutes and the plain language contained therein.
1
The Supreme Court has explained that “[ajbsent a clearly expressed legislative intention to the contrary, [statutory] language must ordinarily be regarded as conclusive.” Escondido Mut. Water Co. v. La *426Jolla Indians, 466 U.S. 765, 772, 104 S.Ct. 2105, 80 L.Ed.2d 753 (1984). We are thus bound by the plain, ordinary meaning of the language used in the antitrust statutes and, in particular, the FTAIA.
We begin by first noting that the Sherman Act itself applies only to conduct in “trade or commerce with foreign nations.” 15 U.S.C. §§ 1,2 (emphasis added). The commerce that gives rise to the action here — the contracting for heavy lift barge services in the North Sea — was not United States commerce with foreign nations, but commerce between or among foreign nations — that is, between or among Statoil (a Norwegian corporation), Saipem (England), and HeereMac (The Netherlands). Therefore, we doubt that foreign commercial transactions between foreign entities in foreign waters is conduct cognizable by federal courts under the Sherman Act .18
As we have noted, the FTAIA states that the antitrust laws will not apply to non-import foreign conduct unless (1) such conduct has a direct, substantial, and reasonably foreseeable effect on United States domestic commerce, and (2) such effect gives rise to the antitrust claim.19 The conduct of these defendants is foreign conduct that falls within the general parameters of the FTAIA and, thus, Statoil must show that the two specific requirements of the statute are met to establish subject matter jurisdiction over its claims.20
We accept the contention that Statoil has sufficiently alleged that the defendants’ conduct — that is, the agreement among heavy-lift service providers to divide territory, rig bids, and fix prices — had a direct, substantial, and reasonably foreseeable effect on the United States market. Statoil alleges that the conspiracy not only forced purchasers of heavy-lift services in the Gulf of Mexico to pay inflated prices, but also that the agreement compelled Americans to pay supra-competitive prices for oil.21 These allegations are *427sufficient to satisfy the first requirement of the FTAIA.
However, Statoil fails to show that this effect on United States commerce in any way “gives rise” to its antitrust claim.22 Based on the language of Section 2 of the FTAIA, the effect on United States commerce — in this case, the higher prices paid by United States companies for heavy-lift services in the Gulf of Mexico — must give rise to the claim that Statoil asserts against the defendants. That is, Statoil’s injury must stem from the effect of higher prices for heavy-lift services in the Gulf. We find no evidence that this requirement is met here. The higher prices American companies allegedly paid for services provided by the McDermott defendants in the Gulf of Mexico does not give rise to Sta-toil’s claim that it paid inflated prices for HeereMac and Saipem’s services in the North Sea. This is not to say that any antitrust injury suffered by customers or competitors of McDermott that arose from the anticompetitive effect in the Gulf of Mexico cannot be addressed.23 This means only that, while we recognize that there may be a connection and an interrelatedness between the high prices paid for services in the Gulf of Mexico and the high prices paid in the North Sea, the FTAIA requires more than a “close relationship” between the domestic injury and the plaintiffs claim; it demands that the domestic effect “gives rise” to the claim.24
Statoil asks that we interpret the requirement of Section 2 that the domestic “effect” give rise to a claim under the antitrust laws as merely requiring that the defendants’ domestic “conduct ” (here, for example, agreements relating to the Gulf of Mexico) give rise to a claim. This interpretation is not true to the plain language of the FTAIA. Moreover, under such an expansive interpretation, any entities, anywhere, that were injured by any conduct that also had sufficient effect on United States commerce could flock to United States federal court for redress, even if those plaintiffs had no commercial relationship with any United States market and their injuries were unrelated to the *428injuries suffered in the United States.25 Such an expansive reading of the extraterritorial application of the antitrust laws was never intended nor contemplated by Congress. See EEOC v. Arabian Am. Oil Co., 499 U.S. 244, 248, 111 S.Ct. 1227, 113 L.Ed.2d 274 (1991) (noting that “[w]e assume that Congress legislates against the backdrop of the presumption against extraterritoriality. Therefore, unless there is the affirmative intention of the Congress clearly expressed, we must presume it is primarily concerned with domestic conditions.”) (citation omitted).
In sum, we find that the plain language of the FTAIA precludes subject matter jurisdiction over claims by foreign plaintiffs against defendants where the situs of the injury is overseas and that injury arises from effects in a non-domestic market.26 Although the plain language of the relevant statutes is clear and controlling, we nonetheless turn now to address briefly the legislative history of the FTAIA to illustrate how that history reinforces our interpretation of the extraterritorial reach of the antitrust laws.
2
Before analyzing the legislative history of the FTAIA, we reemphasize that “[(legislative history is relegated to a secondary source behind the language of the statute in determining congressional intent; even in its secondary role legislative history must be used cautiously.” Boureslan v. Aramco, 857 F.2d 1014, 1018 (5th Cir.1988) (citation omitted). We are thus “not free to substitute legislative history for the language of the Act.” Id.
The FTAIA House Report states that the purpose of the law is “to more clearly establish when antitrust liability attaches to international business activities” and to ascertain “the precise legal standard to be employed in determining whether American antitrust law is to be applied to a particular transaction.” H.R.Rep. No. 97-686, at 5, 8.27 Moreover, the relevant House Report shows that Congress intended to exclude purely foreign transactions, like the contract for services in the North Sea between Statoil and the foreign defendants, from the reach of United States antitrust laws:
A transaction between two foreign firms, even if American-owned, should not, merely by virtue of the American ownership, come within the reach of our antitrust laws.... It is thus clear that wholly foreign transactions as well as export transactions are covered by the [FTAIA], but that import transactions are not.
Id. at 10.
Thus, the legislative history of the FTAIA, while not controlling, reinforces our conclusion that a foreign plaintiff in*429jured in a foreign- marketplace must show that a substantial domestic effect on United States commerce “gives rise” to its antitrust claim.28
We now turn to address briefly applicable case law and its effect on our interpretation of the FTAIA.
3
Because few courts have directly addressed the specific meaning of the FTAIA’s Section 2 requirement that a domestic effect “gives rise” to the plaintiffs antitrust claim, very little case law exists to aid our inquiry. Our interpretation of the FTAIA’s requirements, however, is entirely consistent with prior case law defining the jurisdictional reach of the antitrust laws. Furthermore, those decisions illustrate that our interpretation of Section 2 is not a novel reading of the statute.
To begin, we note that the only three federal courts that have addressed the narrow question before us interpreted Section 2 exactly as we have. See Kruman v. Christie’s Int’l PLC, et al., 129 F.Supp.2d 620 (S.D.N.Y.2001) (holding that the FTAIA permits jurisdiction “only where the conduct complained of had ‘direct, substantial and reasonably foreseeable’ effects in the United States and the effects giving rise to jurisdiction are the basis for the alleged injury.”); In re Microsoft Corp., 2001 U.S. Dist. LEXIS 305, at *37 (holding that, under the FTAIA, “foreign consumers who have not participated in any way in the U.S. market have no right to institute a Sherman Act claim.”); Sumitomo, 117 F.Supp.2d 875, 876 (holding that “it is plain from the language of this act and bolstered by the legislative history that a private plaintiff cannot sue under the antitrust laws of the United States for injuries incurred as a result of international transactions that have an anticompetitive effect on a United States market if the domestic anticompetitive effect is not the same one that gives rise to the plaintiffs injury.”).
We further note that we have found no case in which jurisdiction was found in a case like this — where a foreign plaintiff is injured in a foreign market with no injuries arising from the anticompetitive effect on a United States market.29 In ■ those cases where the domestic effect on commerce did not give rise to the plaintiffs claim, courts have found subject matter jurisdiction lacking. See, e.g., S. Megga Telecomm. Ltd. v. Lucent Technologies, Inc., 1997 WL 86413 (D.Del. Feb.14, 1997) (anticompetitive domestic effect of higher prices for United States consumers did not “give rise” to plaintiffs claim for lost sales to defendant); The “In” Porters, S.A. v. Hanes Printables, Inc., 663 F.Supp. 494 (M.D.N.C.1987) (anticompetitive domestic effect (lost exports of United States exporters) did not “give rise” to plaintiffs *430claim- for lost sales in France due to marketing sales agreement with defendant); de Atucha v. Commodity Exch., Inc., 608 F.Supp. 510 (S.D.N.Y.1985) (conspiracy’s effect on silver prices on United States exchange did not “give rise” to plaintiffs injury on London exchange).
On the other hand, in every case where jurisdiction has been found, the substantial effect on United States commerce has “give[n] rise” to the plaintiffs injury and claim under the antitrust laws. See, e.g., Carpet Group Int’l v. Oriental Rug Importers Ass’n, 227 F.3d 62 (3rd Cir.2000) (anticompetitive effect on domestic rug market “gives rise” to plaintiffs injury); Caribbean, 148 F.3d 1080 (monopolization of United States market for advertising in the Caribbean “gives rise” to plaintiffs claim of being blocked from that market); Nippon Paper, 109 F.3d 1 (collusion amongst fax paper producers resulted in higher prices for fax paper in the United States, which “gives rise” to the United States’ claim); Hartford Fire, 509 U.S. 764, 113 S.Ct. 2891, 125 L.Ed.2d 612 (conspiracy’s effect on the United States insurance market “gives rise” to the plaintiffs’ injury, the inability to obtain certain types of coverage in that market).
Finally, we note that none of the cases cited by Statoil in support of its interpretation of the FTAIA cast doubt upon our plain language interpretation of Section 2. Statoil cites Pfizer v. India, 434 U.S. 308, 98 S.Ct. 584, 54 L.Ed.2d 563 (1978), for the proposition that antitrust jurisdiction exists over foreign conduct like the commerce between Statoil and defendants in this case. Pfizer, however, was decided four years before enactment of the FTAIA, and the court’s holding was limited to the question of whether a foreign government qualified as a “person” under the Sherman Act. Id. at 320, 98 S.Ct. 584.30 Statoil further maintains that Caribbean Broadcasting, 148 F.3d 1080, requires that jurisdiction be found over its claims. Initially, that case looks similar to today’s case in that both the plaintiff and the defendant were foreign, and the defendant’s international conspiracy had anti-competitive effects both inside and outside the United States. The critical difference, however, is that the effect on United States commerce in that case (that is, limiting to one radio station potential advertisers in the United States who wished to advertise in the Eastern Caribbean radio market) gave rise to the injury suffered by the plaintiff, a competing radio station— that is, exclusion of the plaintiff from the market for United States advertising dollars. Id. at 1082, 1086. As previously explained, that is simply not true with Statoil’s claims.31 Similarly, Statoil’s reliance on Nippon Paper, 109 F.3d 1, is misplaced because the global conspiracy in that case had the domestic effect of raising fax paper prices in the United States, which gave rise to the government’s claim under the antitrust laws. Id. at 2.
Simply put, Statoil has cited no case law to support an interpretation of Section 2 of *431the FTAIA different from the one we now adopt. This absence of such precedent, when considered with the plain language of the statute and evidence of congressional intent in enacting the FTAIA, reinforces our conclusion in this case.
YI
In sum, we find that the district court did not err when it dismissed Statoil’s antitrust claims for lack of subject matter jurisdiction. Any reading of the FTAIA authorizing jurisdiction over Statoil’s claims would open United States courts to global claims on a scale never intended by Congress. Without subject matter jurisdiction, United States federal courts are without power to entertain Statoil’s claims.32 The judgment of the district court is therefore
AFFIRMED.

. 15 U.S.C. §6a. In full, the FTAIA reads:
Sections 1 to 7 of this title shall not apply to conduct involving trade or commerce (other than import trade or import commerce) with foreign nations unless — •
(1) such conduct has a direct, substantial, and reasonably foreseeable effect'—
(A) on trade or commerce which is not trade or commerce with foreign nations, or on import trade or import commerce with foreign nations; or
(B) on export trade or export commerce with foreign nations, of a person engaged in such trade or commerce in the United States; and
(2) such effect gives rise to a claim under the provisions of sections 1 to 7 of this title, other than this section.
[Proviso] If sections 1 to 7 of this title apply to such conduct only because of the operation of paragraph (1)(B), then sections 1 to 7 of this title shall apply to such conduct only for injury to export business in the United States.


. The first group of defendants, HeereMac v.o.f. and its subsidiaries, a foreign corporation with its principal place of business in The Netherlands, controlled four or five of the barges. Saipem S.P.A., a British company, controlled one heavy-lift barge. McDermott, Inc., an , American corporation, apparently controlled the last'barge.


. Statoil does not allege that it purchased any heavy-lift services in the United States or that the contracts it entered into included agreements to apply United States law.


. Statoil asserts that it has exported an average of 400,000 barrels of oil a day into the United States over the past three years. Sta-toil does not, however, allege any injury to itself derived from its export of oil to the United States.


. Statoil does not allege that it owns, operates, or commissions any oil exploration platforms within United States waters, or that it conducted business with any of the defendants incorporated in the United States.


. The plea agreement separately addressed issues related to commerce affected by defendants’ conduct in the Gulf of Mexico and commerce affected by defendants’ activity in the North Sea and Far East.


. A group of about forty plaintiffs brought a second suit against defendants in the Northern District of Texas.


. The court determined it did have subject matter jurisdiction over the alleged conspiracy and injury "relating to the Mahogany project in the territorial waters of the United States in the Gulf of Mexico.”


. The court stated that “the claims of the foreign-based [subsidiaries] regarding injuries sustained in relation to the foreign platforms” were not justiciable in United States courts because "the primary injury to that party must be caused in the United States and substantially affect United States commerce.”


. The defendants filed motions to dismiss based on lack of subject matter jurisdiction (Rule 12(b)(1)) and failure to state a claim under the Sherman Act (Rule 12(b)(6)).


. The court then declined to exercise supplemental jurisdiction over the remaining common law claims pursuant to 28 U.S.C. § 1367(c)(3).'


.The first case to consider the extraterritorial application of United States antitrust law was American Banana Co. v. United Fruit Co., 213 U.S. 347, 29 S.Ct. 511, 53 L.Ed. 826 (1909). In that case, Justice Holmes announced that the Sherman Act could have no application to conduct that occurred outside of the United States. Id. at 357, 29 S.Ct. 511. However, as the United States became increasingly involved in foreign commerce in the years following American Banana, the Supreme Court relaxed its previous stance and held that the Sherman Act authorized jurisdiction over foreign defendants so long as domestic commerce was affected and some conduct occurred within the United States See United States v. Sisal Sales Corp., 274 U.S. 268, 276, 47 S.Ct. 592, 71 L.Ed. 1042 (1927).
In 1945, the Second Circuit laid the groundwork for what became known as the "effects test” to determine antitrust jurisdiction over foreign conduct. In United States v. Aluminum Company of America (“Alcoa"), 148 F.2d 416 (2d Cir.1945), Judge Learned Hand determined that a United States court would have jurisdiction over the conduct of foreign corporations where that conduct was intended to, and actually did, affect United States commerce. Id. at 443-44. The Alcoa effects test has been gradually adopted by most federal courts, albeit in various forms.
The already confused effects test was even more imprecise following the Ninth Circuit's decision in Timberlane Lumber Co. v. Bank of America, 549 F.2d 597, 613 (9th Cir.1976). In that case, the court introduced a balancing test that considered principles of comity in addition to domestic effects when determining the scope of antitrust jurisdiction over foreign defendants. The Fifth Circuit adopted a similar comity-informed approach. See American Rice, Inc. v. Arkansas Rice Growers Co-op. Ass'n, 701 F.2d 408, 413 (5th Cir.1983). Most recently, in 1993, the Supreme Court confirmed that "the Sherman Act applies to foreign conduct that was meant to produce and did in fact produce some substantial effect in the United States.” Hartford Fire Ins. Co. v. California, 509 U.S. 764, 796, 113 S.Ct. 2891, 125 L.Ed.2d 612 (1993).


. In fact, no circuit appears to have interpreted the critical portion of the FTAIA at issue in this case — the requirement that the domestic effect on commerce “gives rise” to the antitrust claim. 15 U.S.C. § 6a(2).


. It is true that the defendants filed 12(b)(6) motions along with their 12(b)(1) motions. However, the district court's order establishes that the court dismissed the claims for lack of subject matter jurisdiction rather than failure to state a claim under the antitrust laws:
[T]he court orders that Defendants' motions to dismiss for lack of subject matter jurisdiction arc granted and that this case is dismissed without prejudice. All remaining pending motions are moot.


. Statoil refers to the legislative history of the FTAIA to support its interpretation:
The Committee did not believe that the bill reported by the subcommittee was intended to confer jurisdiction on injured foreign persons when that injury arose from conduct with no anticompetitive effects in the domestic marketplace. Consistent with this conclusion, the full committee added language to the Sherman and FTC Act amendments to require fhat the "effect” providing the jurisdictional nexus must also be the basis for the injury alleged under the antitrust laws. This does not, however, mean that the impact of the illegal conduct must be experienced by the injured party within the United States.
H.R.Rep. No. 97-686, at 12.


. Statoil cites additional legislative history in support of this interpretation of the FTAIA:
... [T]he domestic "effect” that may serve as the predicate for antitrust jurisdiction under the bill must be of the type that the antitrust laws prohibit. For example, a plaintiff would not be able to establish United States antitrust jurisdiction merely by proving a beneficial effect within the United States, such as increased profitability of some other company or increased domestic employment, when the plaintiff's damage claim is based on an extraterritorial effect on him of a different kind.
H.R.Rep. No. 97-686, at 12 (1982) (citation omitted).


.In addition to its statutory interpretation arguments, Statoil cites a number of cases in an . attempt to support its proposition that subject matter jurisdiction exists under the Sherman Act so long as the conspiratorial conduct had an affect on United States commerce. See Caribbean Broad. Sys., Ltd. v. Cable and Wireless PLC, 148 F.3d 1080 (D.C.Cir.1998); United States v. Nippon Paper Indus. Co., 109 F.3d 1 (1st Cir.1997); Hartford Fire, 509 U.S. 764, 113 S.Ct. 2891, 125 L.Ed.2d 612; Pfizer, Inc. v. Gov’t of India, 434 U.S. 308, 98 S.Ct. 584, 54 L.Ed.2d 563 (1978). However, none of these cases interpret the relevant provision of the FTAIA (15 U.S.C. § 6a(2)) and, therefore, none of these cases inform our inquiry into the proper interpretation of the "gives rise to” requirement.


. This interpretation is further strengthened by the limits placed on Congressional power in the Constitution. Article I, § 8 of the Constitution gives Congress the authority only to regulate interstate commerce and "commerce with foreign nations” (emphasis added). Thus, even if Congress indeed intended to regulate purely foreign commerce in the Sherman Act, it was not empowered to do so under the Commerce Clause.


. The dissent, like Statoil, argues that Section 2 should be read to require only that the domestic effect give rise to any antitrust claim, not necessarily the plaintiff's claim. This interpretation contradicts the explicit intent of Congress to require that the effect must give rise to the particular injury claimed by the plaintiff in the suit:
... [T]he full committee added language to the Sherman and FTC Act amendments to require that the "effect” providing the jurisdictional nexus must also be the basis for the injury alleged under the antitrust laws. H.R.Rep. No. 97-686, at 12 (emphasis added).
The dissent asserts that reading Section 2 as requiring that the domestic effect give rise to the plaintiff's claim renders the FTAIA's proviso redundant. Although giving the statute a clear understanding is difficult, we disagree with the dissent's reading. We read Section 1(B) to provide that the export commerce covered under the exception must be conducted by a person who is engaged in that export business in the United States. Section 2 provides that the defendant’s antitrust effect on this export commerce described in Section 1(B) must give rise to the plaintiff’s cause of action. The proviso, in turn, states that the recovery for injuries resulting from the conduct described in Section 1(B), which gives rise to the plaintiff's antitrust claim in Section 2, is limited to injuries occurring in the United States. Therefore, we fail to see the redundancy to which the dissent refers. See In re Copper Antitrust Litigation v. Sumitomo Corp., 117 F.Supp.2d 875, 884 (W.D.Wis.2000) (holding that "[t]he logical interpretation of the language of § 6a is that Congress extends domestic jurisdiction to extraterritorial conduct only when the plaintiffs have been injured by the effects on the domestic market.”).


. Specifically, Statoil’s claim falls under Section 6(a)(1)(A) and not Section 6(a)(1)(B), because defendants' conduct had no substantial effect on export trade with foreign nations.


. Statoil’s complaint alleges that the defendants’ conspiracy adversely affected at least $165 million in United States commerce during the 1993-97 period.


. Statoil repeatedly frames the inquiry as whether a plaintiff can suffer injury abroad, or whether the injury itself must be suffered ' in the United States. This approach is an incorrect formulation of the threshold question and reflects a misreading of the FTAIA. We recognize that many federal courts, including the district court in these proceedings, might have chosen to frame the analysis in this manner. However, the proper inquiry to make here is, regardless of the situs of the plaintiff's injury, did that injury arise from the anticompetitive effects on United States commerce? See, e.g., Caribbean, 148 F.3d 1080 (identifying that, while the situs of the injury was overseas, the claim arose from the conspiracy’s effects on the United States advertising market).


. The dissent notes with disapproval that our interpretation of the FTAIA means that "a foreign cartel that fixes prices worldwide will be subject to suit under the Clayton Act only from plaintiffs injured in American commerce.” However, our reading produces the precise result intended by Congress — that “[floreign purchasers should enjoy the protection of our antitrust laws in the domestic marketplace, just as our citizens do.” H.R.Rep. No. 97-686, at 10-11.


.Statoil argues that, had the district court accepted its allegation of a worldwide conspiracy as true, the requirements of the FTAIA would be satisfied and subject matter jurisdiction would exist. We cannot agree. Regardless of the nature of the conspiracy, Statoil must allege an injury that falls within the scope of the antitrust statutes. The assumed existence of a single, unified, global conspiracy does not relieve Statoil of its burden of alleging that its injury arose from the conspiracy’s proscribed effects on United States commerce. This principle was stressed by the Supreme Court in Matsushita:
Respondents also argue that the check prices, the five company rule, and the price fixing in Japan are all part of one large conspiracy that includes monopolization of the American market through predatory pricing. The argument is mistaken. However one decides to describe the contours of the asserted conspiracy — whether there is one conspiracy or several — respondents must show that the conspiracy caused them an injury for which the antitrust laws provide relief.
475 U.S. at 584 n. 7, 106 S.Ct. 1348 (emphasis added).


. The dissent repeatedly emphasizes that the antitrust laws have always contemplated foreign plaintiffs recovering for their injuries. We do not disagree. We simply read the FTAIA to provide that, if individuals conspire to restrain trade such that an American market is harmed, the United States antitrust laws can provide redress to any person injured by the domestic effects of the conspiracy, even if the injured party is located overseas. See Sumitomo, 117 F.Supp.2d 875, 885 (“On the other hand, the antitrust laws do not apply to an action by a person injured overseas because of price-fixing in a foreign market even if the same defendants engage in price-fixing affecting an American market.”).


. Statoil alleges that it paid inflated prices for heavy-lift services in the North Sea. This injury, however, does not arise from the alleged effect on United States commerce — that is, the higher prices paid by United States consumers for heavy-lift services in the Gulf of Mexico. While Statoil also asserts that the conspiracy had the effect of raising crude oil prices in the United States, 'Statoil alleges no injuries to itself occurring in the market for crude oil or arising from this domestic effect.


.The dissent seems to imply that the sole purpose of the FTAIA is to "exempt exporting from antitrust scrutiny.” Although this is clearly a primary goal of the legislation, the dissent ignores the second purpose behind the FTAIA — to resolve "possible ambiguity” in the extraterritorial reach of antitrust jurisdiction. Id. at 4-5.


. The dissent argues that our decision in this case is contrary to the statement in the legislative history that "[a] course of conduct in the United States ... would affect all purchasers of the target domestic products or services, whether the purchaser is foreign or domestic.” Again, we do not assert that foreign purchasers of domestic products can never sue in United States federal court. We only hold that the FTAIA requires that a foreign plaintiff show that its injuries arise from a United States market. This is not a novel reading of the FTAIA:
[T]he legislative history [of the FTAIA] reflects that Congress was proceeding from the premise that, wherever title is taken or economic injury is suffered, at least some aspect of the sales transaction took place in the United States. Any doubt on that score is resolved by ... the sentence which states that "foreign purchasers should enjoy the protection of our antitrust laws in the domestic marketplace, just as our citizens do.” Nothing is said about protecting foreign purchasers in foreign markets.
In re Microsoft Corp. Antitrust Litigation, 2001 U.S. Dist. LEXIS 305, at *37 (M.D.Md. Jan. 12, 2001).


. See Sumitomo, 117 F.Supp.2d 875, 883 ("So far as can be determined, the issue [of interpreting the language of Section 2] never came up. In the reported cases, the courts had no occasion to address the same effects requirement because in each case, the plaintiffs’ injuries arose out of the same effects experienced by the markets.”).


. The dissent relies heavily upon Pfizer in asserting that Statoil's claim should be cognizable in United States federal court. The Pfizer court, however, did not analyze the requisite elements that must be present before a foreign entity can sue under the United States antitrust laws. Indeed, Pfizer’s narrow holding was "only that a foreign nation otherwise entitled to sue in our courts is entitled to sue for treble damages under the antitrust laws to the same extent as any other plaintiff.” Id. (emphasis added).


. The dissent asserts that we "struggle” to reconcile Caribbean Broadcasting with our holding in the case before us. However, the court in Caribbean Broadcasting, for whatever reason, completely ignored Section 2 of the FTAIA in its analysis. Given that a decision in the case before us requires an interpretation of that provision, we find Caribbean Broadcasting unhelpful to any resolution of Statoil’s claim. Indeed, we fail to understand how Caribbean Broadcasting provides any meaningful support for the dissent's interpretation of Section 2, given that the plaintiff's claim in that case arose from the anticompeti-tive effects on the domestic market for radio advertising in the Caribbean. See 148 F.3d at 1086.


. As Statoil has no claim under the United States antitrust laws, we affirm the district court’s finding that Statoil lacked standing to bring its claims. Based on Associated Gen’l Contractors Inc. v. California State Council of Carpenters, 459 U.S. 519, 535-45, 103 S.Ct. 897, 74 L.Ed.2d 723 (1983), the determination of Statoil’s standing to bring its claims is dependent upon our finding of subject matter jurisdiction. Thus, in concluding that the FTAIA bars Statoil’s claims against defendants under the Sherman Act, we have perforce found that Statoil's injury is not of the type that the antitrust statute was intended to forestall.

